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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA          :         Hon.    William H.       Walls

              V.                   :         Crim.    No.    13-096

 LINDA YARLEQUE and                :         ORDER FOR CONTINUANCE
 FABIO MORENO VARGAS


              This matter having come before the Court on the joint

 application of Paul J.       Fishman,    United States Attorney for the

 District of New Jersey       (Rachael A.    Honig,    Assistant U.S.

 Attorney,    appearing),    defendant Linda Yarleque          (Peter Willis,

 Esq.,    appearing),    and defendant Fabio Moreno Vargas             (Carol

 Gillen,    Assistant Federal Public Defender,          appearing)       for an

 order granting a continuance of the proceedings in the above-

 captioned matter,       and the defendants being aware that they have

 the right to have the matter brought to trial within 70 days of

 the date of their appearances before a judicial officer of this

 court pursuant to Title 18,       United States Code,         Section

 3161(c) (1),      and the defendants having consented to such a

 continuance,       and it appearing that the defendants waive such

 right,    and for good and sufficient cause shown,

              IT IS THE FINDING OF THIS COURT that this action should

 be continued for the following reasons:

              (1)    The discovery in this case involves a large

 quantity of financial records that defense counsel requires

 additional time to review;
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              (2)    Taking into account the exercise of diligence,

 therefore,    the facts of this case require that defense counsel be

 permitted a reasonable amount of additional time for effective

 preparation in this matter;

              (3)   Plea negotiations are currently in progress,        and

 both the United States and the defendants desire additional time

 to negotiate plea agreements,       which would render trial of this

 matter unnecessary;

              (4)   As a result of the foregoing,     pursuant to Title 18,

 United States Code,      Section 3161(h) (7),    the ends of justice

 served by granting the continuance outweigh the best interest of

 the public and the defendant in a speedy trial.

              IT IS,   therefore,   on thisday of June,            2013,

              ORDERED that this action be,       and hereby is,   continued;

 and it is further

              ORDERED that a status conference shall be held on July

 17,   2013 at 9:30 a.m.;    and it is further

              ORDERED that a schedule for further proceedings shall

 be set at the status conference;        and it is further
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                         ORDERED that the period from the date of this order
                                                                            under
               through 7u1.y 17, 2013 shall be excludable in computing time

               the Speedy Trial Ac of 1974.



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               Form and entry
               CQn5eflted to:



               Racha.el A. Honig
               Assistant US. Attorney


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               eer—W±*4s, Esq. cEL,
               Counsel for defendant T4nda Yarlequé




               Carol Gillea
               Asietant Federal Public Iefender
               Counsel for defendant Fa.bio Mozeno Vargas




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            ORDERED that the period from the date of this order

 through July 17,   2013 shall be excludable in computing time under

 the Speedy Trial Act of 1974.




                                       HON. WILLIAM H. WALLS
                                       United States District Judge



 Form and entry
 consented to:




 Rachael A. Honig
 Assistant U.S. Attorney




 Peter Willis, Esq.
 Counsel for defendant Lrida Yarleque




 Carol Gillen
 Assistant Federal Public Defender
 Counsel for defendant Fabio Moreno Vargas




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